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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al., 1                            Case No. 24-12480 (JTD)

                                   Debtors.                      (Jointly Administered)


                                            AFFIDAVIT OF SERVICE

       I, James Roy, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On December 11, 2024, at my direction and under my supervision, employees of Kroll
caused the following documents to be served by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A:

       •      Order Authorizing the Debtors to Seal Certain Exhibits in Connection With the Second
              Day Hearing [Docket No. 409]

       •      Final Order (I) Authorizing the Debtors to Pay Certain Prepetition Claims of Certain
              Critical Vendors, Foreign Vendors, Shippers & Logistics Providers, and 503(b)(9)
              Claimants; and (II) Granting Related Relief [Docket No. 410] (the “Final Critical
              Vendor Order”)

1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
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   •   Order (I) (A) Approving Bidding Procedures for the Sale of All or Substantially All of
       the Debtors’ Assets, (B) Scheduling an Auction and a Sale Hearing and Approving the
       Form and Manner of Notice Thereof, (C) Approving Assumption and Assignment
       Procedures, and (D) Granting Related Relief [Docket No. 411]

   •   Final Order (I) Authorizing the Debtors to (A) Obtain Senior Secured Priming
       Superpriority Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and
       Providing Claims With Superpriority Administrative Expense Status, (III) Granting
       Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the Automatic
       Stay, and (V) Granting Related Relief [Docket No. 414] (the “Final DIP Order”)

        On December 11, 2024, at my direction and under my supervision, employees of Kroll
caused the Final Critical Vendor Order and the Final DIP Order to be served by the method set
forth on the Banks Service List attached hereto as Exhibit B.

       On December 11, 2024, at my direction and under my supervision, employees of Kroll
caused the Final DIP Order to be served via Email to Counsel to the Fronting Lender, Mandel,
Katz & Brosnan LLP, Attn: Allison Reich, Edward Leen, areich@mkbllp.com,
eleen@mkbllp.com.

Dated: December 19, 2024
                                                                    /s/ James Roy
                                                                    James Roy
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on December 19, 2024, by James Roy, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ Cindy C. Hosein-Mohan
Notary Public, State of New York
No. 01HO6295177
Qualified in Nassau County
Commission Expires December 30, 2025




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                                                                                     SRF 84461
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                       Exhibit A
                                                                               Case 24-12480-JTD                          Doc 595                Filed 12/31/24                      Page 4 of 15
                                                                                                                                       Exhibit A
                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

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                                                                                                                                     Exhibit A
                                                                                                                               Core/2002 Service List
                                                                                                                              Served as set forth below

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                                                                                                                                         Exhibit A
                                                                                                                                Core/2002 Service List
                                                                                                                               Served as set forth below

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                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

                                                 DESCRIPTION                                                           NAME                                                ADDRESS                                        EMAIL          METHOD OF SERVICE
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                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

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                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

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                                                                                                                                    Core/2002 Service List
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                                                                                                                           Core/2002 Service List
                                                                                                                          Served as set forth below

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                                                                                                           Banks Service List
                                                                                                       Served as set forth below

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                                                  Manager
29479725      Prosperity Bank                     101 S Main St                                             Victoria          TX    77901          ariana.vandusen@prosperitybankusa.com   First Class Mail and Email
                                                  Darren Messer
29479739      Regions Financial Corporation       19645 US Highway 441                                      Boca Raton        FL    33498          Darren.Messer@regions.com               First Class Mail and Email
                                                  Sarah Tront, Commercial Relationship Assistant
29487522      Regions Financial Corporation       1900 5th Ave                                              N Birmingham      AL    35203          Sarah.tront@regions.com                 First Class Mail and Email
                                                  Joy Kinney
29479740      Simmons Bank                        201 S. Dean A McGee                                       Wynnewood         OK    73098          Joy.Kinney@simmonsbank.com              First Class Mail and Email


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                                                                                                         Exhibit B
                                                                                                      Banks Service List
                                                                                                  Served as set forth below

  ADRID                         NAME                                    ADDRESS                               CITY        STATE POSTAL CODE                    EMAIL             METHOD OF SERVICE
                                                  Kelsey Bales
29479741      Southern Bank                       2991 Oak Grove Road                                  Poplar Bluff      MO    63901          KBales@bankwithsouthern.com    First Class Mail and Email
29479727      TD Bank                             1701 Marlton Pike East                               Cherry Hill       NJ    08034                                         First Class Mail
29487527      Truist Bank                         214 North Tryon Street                               Charlotte         NC    28202                                         First Class Mail
                                                  Emily Whittaker
29487532      US Bank                             P.O. Box 1800                                        Saint Paul        MN    55101‐0800     emily.whittaker@usbank.com     First Class Mail and Email
                                                  Kathy S Wollmuth , Commercial Bkg Client Rep
29487528      US Bank                             800 Nicollet Mall                                    Minneapolis       MN    55402          kathy.s.wollmuth@usbank.com    First Class Mail and Email
                                                  Todd Lisowski
29487533      Wells Fargo Bank, N.A.              325 John H. McConnell Blvd., Ste 300                 Columbus          OH    43215          todd.lisowski@wellsfargo.com   First Class Mail and Email




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